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         EXHIBIT 14
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                                  American Barn Co, LLC
                                              Balance Sheet
                                             As of May 8, 2023




                             Accrual Basis Monday, May 8,2023 08:27 AM GMT-05:00             3/3


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                                                   American Bam Co, LLC
                                                               Balance Sheet
                                                              As of May 8, 2023


                                                                                                           TOTAL
    ASSETS
     Current Assets
      Bank Accounts
      First Bank Account
      MISCELANEOUS
      QuickBooks Checking Account
      Reimbursement
      Total Ban ^Accounts

      Accounts Receivable
      Accounts Receivable (A/R)
      Total-Accounts Receivable

      Other Current Assets
       Due to/Irom ABCo Rentals LLC
       Employee Cash Advances
       inventory Asset
       Finished Goods Inventory
       Raw Materials
        Raw Materials - ARLINGTON
        Raw Materials - CHINO
        Raw Materials - GOLDEN VALLEY
        Raw Materials - HARRISBURG
        Raw Materials - LAS VEGAS
        Raw Materials - MILAN
        Raw Materials - SOMERTON
      _ Raw Materials-WILLCOX_________
       feialJ wMaterials

       TotalInventory Asset

       Loans to others
        Note Receivable - 5225 S 43rd AVE LLC
        Note Receivable - Arizona Bam Co LLC
        Note Receivable - Benjamin T Miller
        Note Receivable - Ponderosa Portable Storage
        Note Receivable - Shed Werx LLC
        Note Receivable - Sdnoran Sheds
        Notes Receivable - BRYAN HYER
       TotaLLoans to ethers

       Payments to deposit
       Repayment
        Advance                                                                                              0.00




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